AQ) 442 (ev 11/11) Arrest Warrant

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UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America
V

Case: 1:23-mj-00054

Assigned To : Harvey, G. Michael

Assign. Date : 3/8/2023

Description: Complaint W/ Arrest Warrant

ARTHUR REYHER

Nee me el ee

Defendant

ARREST WARRANT

To: Any authorized law enforcement officer
YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) ARTI IUR REY] IER
who is accused of an offense or violation based on the following document filed with the cou
O Information ©) Superseding Information § Complaint

Indictment  Superseding Indictment
© Supervised Release Violation Petition

O Violation Notice © Order of the Court

{ Probation Violation Petition
This offense is briefly described as follows:

ARTHUR REYHER Charges:
18 U.S.C. § 231(a)(3) - Civil Disorder;
18 U.S.C, § 1752(a)(1) - Entering and Remaining in a Restricted Building or Grounds;
18 U.S.C, § 1752(a)(4) - Engaging in Physical Violence in a Restricted Building or Grounds;
40 U.S.C. § 5104(e)(2)(E) - Obstruct, or Impede Passage, through or within, the Grounds or any of the
Capito] Buildings;
40 U.S.C. § 5104(e)(2)(F) - Engage in an Act of Physical Violence in the Grounds or any of the Capitol Buildings Fe Digitally signed by
G. Michael ¢ ticrsei torre,
Date 2023.03 5
H a rvey 13:27:03 500

Date: 03/08/2023
issuing officer's signature
City and state: Washington, D.C. G. Michael Harvey, U.S. Magistrate Judge
Printed name and title
Return

This warrant was receiyed on (date) “S 3-R- ~2623 — , and the person was arrested on (date) SS “72325
a iy and sta) NONPRAKETU 9, | IDPs 2
Date: s -\S-2023 ea officer's signature
Sh Gence Nex 2, FB | rie

